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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

THE DUGABOY INVESTMENT TRUST
and GET GOOD TRUST,                             §
                                                §
        Appellants,                             §
                                                §
v.                                              §   Civil Action No. 3:21-CV-261-L
                                                §
HIGHLAND CAPITAL                                §
MANAGEMENT, LP,                                 §
                                                §
        Appellee.                               §

                                          JUDGMENT

        In accordance with the court’s September 26, 2022 order, it is ordered, adjudged, and

decreed that the bankruptcy court’s order granting Debtor Highland Capital Management, LP’s

Motion For Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149,

150, 153, 154) and Authorizing Actions Consistent Therewith (Bankr. Doc. 1788) is affirmed; and

that the appeal by Appellants The Dugaboy Investment Trust and Get Good Trust is dismissed by

agreement as to Get Good Trust and dismissed for lack of bankruptcy standing as to The Dugaboy

Investment Trust. Pursuant to Federal Rule of Bankruptcy 8014, all reasonable and allowable costs

are to be taxed against Appellants.

        Signed and entered this 26th day of September, 2022.


                                      Karen Mitchell, Clerk of the Court



                                         s/Tannica Stewart
                                      By______________________________
                                      Tannica Stewart, Deputy Clerk
